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UN|TED STATES DISTRlCT COURT ‘"--'~ -

FOR THE 1
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uNlTED sTA`TEs oF AMERch
cR. No. 03-20124-1)
VS.

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ANTONIO NE`.AL
APPLICATIO|\Il ORDER and WR|T FOR HABEAS CORPUS AD PROSEO.UENDUM

An;onio Neal applies to the Court for a Writ to have n j,m . now

being detained in the E'CI - Memphi S . appear before the Honorable B , ngpa | d

on{day) 30th ,(month} June §QQS,at(t'me} lO:BOam for reseg§§ggigg

 

and for such other appearances as this Court may direct.

Respectfu|ly submitted this?`___g_`__ day of M"Q" . 193§. 2005

 

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Upon consideration of the foregoing Application,

SHER|FFIWARDEN. E`CI - Memghis
YOU ARE HEREBY COMMANDED to have g , Nea] appear before the

Honorable B , Dgn a] d at the date and time aforementioned.
ENTERED mis?.#? day or%¢¢&, WX. 200 5
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UNITED ST TES JUDGE

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This notice confirms a copy of the document docketed as number 178 in
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Honorable Bernice Donald
US DISTRICT COURT

